                         UNITED STATES DISTRICT COURT
USDC IN/ND case 3:09-cr-00067-RLM-CAN   document 45 filed 08/31/09
                        NORTHERN DISTRICT OF INDIANA
                                                                                         page 1 of 2
                                     SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
                v.                             )              CAUSE NO. 3:09CR-0067 (02) RLM
                                               )
 COTY FULTZ,                                   )

                             FINDINGS AND RECOMMENDATION
                                OF THE MAGISTRATE JUDGE
                                 UPON A PLEA OF GUILTY


        On August 26, 2009, the Honorable Robert L. Miller, Jr., Chief Judge, referred this case

 to the undersigned to make findings as to whether the defendant (1) is competent to enter a plea;

 (2) knowingly and voluntarily wishes to enter a plea to the charge(s); (3) understands the

 charge(s); (4) whether there exists a factual basis for the charge(s); and a recommendation as to

 whether a plea of guilty should be accepted by the United States District Court Judge. On

 August 31, 2009 at 2:00 p.m. (EDT), a hearing was held on the defendant’s request to enter a

 plea of guilty. Appearing for the United States was Assistant United States Attorney Jesse M.

 Barrett. Appearing for the defendant was William J. Cohen; the defendant was personally

 present. With the written consent of defendant, his counsel and the counsel for the United States,

 the undersigned proceeded to conduct the hearing.

        In consideration of that hearing and the statements made by the defendant under oath on

 the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for defendant,

        I FIND as follows:

        (1) that defendant is competent to plead guilty;

        (2) that the defendant understands that his answers may later be used against him in a

 prosecution for perjury or false statement;

        (3) that defendant understands the nature of the charge against him to which the plea is
USDC IN/ND case 3:09-cr-00067-RLM-CAN                   document 45       filed 08/31/09      page 2 of 2
 offered;

         (4) that the defendant understands the charge and what the maximum possible sentence is,

 including the effect of the supervised release term, and defendant understands that the sentencing

 guidelines apply and that the Court may depart from those guidelines under some circumstances;

         (5) that the defendant understands his right to trial by jury, to persist in his plea of not

 guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and

 his right against compelled self-incrimination; to appeal his conviction, if convicted, and that the

 defendant has knowingly and voluntarily waived those rights, and wishes to plead guilty.

         (6) that the plea of guilty by the defendant has been knowingly and voluntarily made and

 is not the result of force or threats or of promises apart from the plea agreement between the

 parties; and,

         (7) that there is a factual basis for the defendant’s plea.

         In light of those findings, I now recommend that; (1) the Court accept the defendant’s

 plea of guilty (2) that the defendant be adjudged guilty of Count 1 of the Indictment, in violation

 of Title18 U.S.C. §922(j), 924(a)(2) and 2, and have sentence imposed. A Presentence Report

 has been ordered. Should this Report and Recommendation be accepted and the Defendant

 adjudged guilty, sentencing has been scheduled for November 13, 2009 at 1:30 p.m. (EST),

 before Chief Judge Robert L. Miller, Jr. Sentencing memorandum and any motions shall be filed

 no later than November 6, 2009. Objections to the Findings and Recommendation are waived

 unless filed and served within ten (10) days. 28 U.S.C. § 636(b)(1)(B).

         DATED: August 31, 2009

                                                         s/Christopher A. Nuechterlein
                                                         Christopher A. Nuechterlein
                                                         United States Magistrate Judge




                                                    2
